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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

GEORGE ZIMMERMAN,
     Plaintiff,
                                            Case No: 8:20-cv-1077-T-36CPT
v.
PETE BUTTIGIEG AND
ELIZABETH WARREN,
     Defendants.


       STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiffs George Zimmerman and Defendants Pete Buttigieg and Elizabeth

Warren, pursuant to Rule 41(a)(1)(A)(ii), Federal Rules of Civil Procedure, hereby

stipulate to the voluntary dismissal with prejudice of all claims in this case and to

dismissal and closure of this case.

        Respectfully submitted this 28th day of April, 2022.

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                             CERTIFICATE OF SERVICE

       I hereby certify that on April 28, 2022 I filed a copy of the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.

                                         /s/ Frederick S. Wermuth
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